                    Case 1:22-cr-00354-RCL Document 30 Filed 02/24/23 Page 1 of 2



 1
 2                                          UNITED STATES DISTRICT COURT
 3
                                            FOR THE DISTRICT OF COLUMBIA
 4
 5   UNITED STATES OF AMERICA,                            Case No.: 1:21-cr-00354 RCL
 6
 7
 8                               v.                       CONSENT MOTION TO CONTINUE
 9
                                                          MARCH 7, 2023, STATUS HEARING
                                                          AND TO EXCLUDE TIME UNDER
10
     RICHARD SLAUGHTER and                                THE SPEEDY TRIAL ACT
11
12   CADEN PAUL GOTTFRIED,
13
                                       Defendants.
14
15
16
17                          COMES NOW, Richard Slaughter, Caden Paul Gottfried, through
18   counsel, to respectfully move this Court for a 30 day continuance of the Status
19
     Conference set for March 7, 2023, and further to exclude the time within which the
20
21   trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the
22   basis that the ends of justice served by taking such actions outweigh the best
23   interest of the public and the defendant in a speedy trial pursuant to the factors
24
     described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv). In support of its motion,
25
26   the Government states as follows:
27                          1. The defendants are charged with offenses related to crimes that
28   occurred at the United States Capitol on January 6, 2021.
                            2. A status conference was held in this matter on January 31, 2023, at
     which time the case was continued to March 7, 2023, to permit the government to
     complete discovery and permit plea negotiations.
      United States v. Jared Adams                                      Law Office of Joseph R. Conte
      Case No. 1:21-cr-00212 ABJ-1                                      8251 NW 15TH Ct.
                                                                        Coral Springs, FL 33071
      CONSENT MOTION TO CONTINUE MARCH 7,                               Phone: 202.236.1147
      2023,, STATUS HEARING AND TO EXCLUDE                              Email: dcgunlaw@gmail.com
      TIME UNDER THE SPEEDY TRIAL ACT Page No.
      1

      CONTINUE 20220224 23/02/24 10:44:44
                    Case 1:22-cr-00354-RCL Document 30 Filed 02/24/23 Page 2 of 2



 1                          3. Counsel is still in the process of reviewing discovery with the
 2
     defendants. Additionally, counsel has had difficulties accessing discovery on
 3
     Evidence.com.
 4
 5                          4. The defendants are considering the government’s plea offer and
 6   require additional time to review the plea documents.
 7
                            5. The government consents to this motion.
 8
 9
                            6. Accordingly, the parties respectfully request that this Court grant
10   the motion to continue the Status Hearing set for March 7, 2023, for an additional
11   30 days from the date this Court enters an Order on this motion through and
12
     including the date of the next hearing, and that the Court exclude the time within
13
14
     which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et
15   seq., on the basis that the ends of justice served by taking such actions outweigh the
16   best interest of the public and Defendant in a speedy trial pursuant to the factors
17
     described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).
18
19
                            WHEREFORE counsel respectfully requests that this motion be
20   granted.
21   Dated: February 24, 2023
22
23                                                                  Joseph R. Digitally     signed by
                                                                                   Joseph R. Conte
24
25
                                                                    Conte          Date: 2023.02.24
                                                                    ____________________________
                                                                                   10:45:19 -05'00'

26                                                                  Joseph R. Conte, Bar #366827
                                                                    Counsel for Richard Slaughter
27
                                                                       and Caden Paul Gottfried
28
                                                                    Law Office of J.R. Conte
                                                                    8251 NW 15th Ct.
                                                                    Coral Springs, FL 33071
                                                                    Phone:       202.2361147
                                                                    Email: dcgunlaw@gmail.com

      United States v. Jared Adams                                       Law Office of Joseph R. Conte
      Case No. 1:21-cr-00212 ABJ-1                                       8251 NW 15TH Ct.
                                                                         Coral Springs, FL 33071
      CONSENT MOTION TO CONTINUE MARCH 7,                                Phone: 202.236.1147
      2023,, STATUS HEARING AND TO EXCLUDE                               Email: dcgunlaw@gmail.com
      TIME UNDER THE SPEEDY TRIAL ACT Page No.
      2

      CONTINUE 20220224 23/02/24 10:44:44
